                   IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION
                           NO. 5:19-CR-00331-2BO

UNITED STATES OF AMERICA               :
                                       :       MOTION FOR ORDER
               v.                      :       OF FORFEITURE
                                       :
DAMEON SHAE ADCOCK                     :

      The United States of America, by and through the United States Attorney for

the Eastern District of North Carolina, requests that the Court issue an order of

forfeiture in the above criminal action pursuant to Fed. R. Crim. P. 32.2. In support

of this motion, the Government shows unto the Court the following:

      1.       On August 20, 2019, the defendant, Dameon Shae Adcock, was charged

in a Criminal Indictment with, among other violations, a conspiracy to commit visa

fraud (18 U.S.C. § 371), a conspiracy to commit passport fraud (18 U.S.C. §§ 1542 and

2), aggravated identity theft (18 U.S.C. §§ 1028A(a)(1) and 2), and visa fraud (18

U.S.C. §§ 1546(a) and 2).

      2.       On November 13, 2019, the defendant entered into a Plea Agreement as

to Counts One and Three of the Criminal Indictment, specifically, to offenses in

violation of 18 U.S.C. § 371 and 18 U.S.C. §§ 1028A(a)(1) and 2, and agreed to forfeit

certain property belonging to the defendant, to wit:

      (a)      One (1) Glock, Model 43 firearm, bearing serial number ACRZ179; and

      (b)      any and all accompanying ammunition or magazines.


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      3.       The Court’s jurisdiction in this matter is founded upon 18 U.S.C. §

982(a)(6).

      4.       Pursuant to the Plea Agreement, and the defendant’s guilty plea to

offenses in violation of 18 U.S.C. § 371, the Government requests that the Court

enter, as the statute requires, a preliminary order of forfeiture regarding the subject

property.

      5.       In accordance with Supplemental Rule G(4)(i)(A), the Government is not

required to publish notice, as the property forfeited is worth less than $1,000. In

addition, as no other potential claimants are known, no direct notice need be

provided.

       WHEREFORE, based on the foregoing, the Court is requested to order,

pursuant to 18 U.S.C. § 982(a)(6), that the subject property be forfeited to the United

States, and that said property be disposed of in accordance with law, including

destruction.

      Respectfully submitted this 27th day of January, 2020.

                                  ROBERT J. HIGDON, JR.
                                  United States Attorney

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                           CERTIFICATE OF SERVICE

      I certify that I have on this 27th day of January, 2020, served a copy of the

foregoing Motion for Order of Forfeiture upon counsel electronically via ECF:

      Edward D. Gray
      Email: edward_gray@fd.org

                                ROBERT J. HIGDON, JR.
                                United States Attorney

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